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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION

UNITED STATES OF AMERICA : CRIMINAL NO. 3 GN
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© DEL CROB Se RK
v. : INDICTMENT pone PR SEBO
aS. Lp WS
: 48 U.S.C. §2 Sin a G
(1) MASAI WILLIAMS >: 24 U.S.C. § 844(a)(1) LG. F
alkia “Lee” 21 U.S.C. § B41(b)INAM Vi) po,
(2) DAVID ALEXANDER : - 24 U.S.C. § 844(b)(1)(B)(vii) Cnt,
alkla “Dirty” : - 24. U.S.C. § 846 4S
(3) QUINCY SHOWES : 24 U.S.C. §§ 853(a),(p) ao
(4) ANTONIO HOWARD 21 U.S.C. § 860
alka “T.O.”
(5) RANDY STEELE
(6) BRUCE STEWART :
alk/a “Donnie” : J. BARRETT

(7) DARIAS JACKSON
a/kia “Jizzle”

(8) MONSANNA TORBERT
a/k/a “Tyrone” or “Suki”

THE GRAND JURY CHARGES THAT:
COUNT 1

Beginning from in or about March 1, 2012, the exact date being unknown to the
grand jury, and continuing up to and including August 29, 2012, in the Southern District
of Ohio and elsewhere, MASAI WILLIAMS a/k/a “Lee,” DAVID ALEXANDER a/k/a
“Dirty,” QUINCY SHOWES, ANTONIO HOWARD a/k/a “T.O.,” RANDY STEELE,
BRUCE STEWART a/k/a “Donnie,” DARIAS JACKSON a/k/a “Jizzle,” and
MONSANNA TORBERT, a/k/a “Tyrone” or “Suki” the defendants herein, and others
both known and unknown to the grand jury, did knowingly, willfully, intentionally, and
unlawfully combine, conspire, confederate, and agree, and have a tacit understanding
with each other, to commit offenses against the United States, to wit: to knowingly,
willfully, intentionally and unlawfully distribute and possess with intent to distribute one

thousand kilograms or more of a mixture or substance containing a detectable amount
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of marijuana, a Schedule | controlled substance; in violation of 21 U.S.C. § 846 & §§
841(a)(1), (b)(1)(A)(vii).
MEANS AND METHODS

At all times herein, “marijuana” refers to the Schedule | controlled substance
illegally possessed and/or distributed.

It was a part of the conspiracy that WILLIAMS and ALEXANDER would speak
directly to the marijuana source of supply located in Dallas, Texas, and make
arrangements for loads of marijuana to be sent to the Cincinnati, Ohio area.

It was further a part of the conspiracy that once the shipments of marijuana
reached Cincinnati, Ohio the marijuana was given to SHOWES, who acted as a drug
stash house keeper and who would arrange to distribute the marijuana to STEWART,
STEELE, HOWARD, JACKSON, TORBERT and others.

It was further a part of the conspiracy that members of the conspiracy would
then distribute the drugs in order to obtain U.S. currency and other things of value such
as vehicles.

It was further a part of the conspiracy that members of the conspiracy utilized a
variety of locations for meetings and transfers of U.S. currency and marijuana, and that
some of these locations were within one thousand feet of real property comprising
elementary schools and playgrounds.

in furtherance of the conspiracy and in order to accomplish its objectives, the
defendants, MASAI WILLIAMS, DAVID ALEXANDER, QUINCY SHOWES, ANTONIO
HOWARD, RANDY STEELE, BRUCE STEWART, DARIAS JACKSON and
MONSANNA TORBERT committed, among others, the following:
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OVERT ACTS

1. On May 25, 2012, WILLIAMS and ALEXANDER transferred approximately
$500,000 in U.S. Currency - proceeds of illegal marijuana trafficking - to a person they
believed to be associated with the source of supply for marijuana.

2. On June 5, 2012, WILLIAMS transferred approximately $400,000 in U.S.
Currency - proceeds of illegal marijuana trafficking - to a person he believed to be
associated with the source of supply for marijuana.

3. On July 7, 2012, WILLIAMS engaged in a telephone conversation with his
marijuana source of supply, discussing a sample of marijuana that was to be delivered
to the Cincinnati, Ohio area later that day.

4. On July 7, 2012, WILLIAMS and STEWART engaged in a series of telephone
conversations discussing the delivery of the sample of marijuana. During these calls,
STEWART agreed to meet the courier on behalf of WILLIAMS at 2888 Fischer Place,
Cincinnati, Ohio.

5. On July 7, 2012, at approximately 8:30 pm, STEWART met with the courier
and took possession of a sample (approximately 1 kilogram) of what appeared to be
marijuana.

6. On July 8, 2012, WILLIAMS engaged in a series of telephone conversations
with his marijuana source of supply discussing a delivery of approximately 320 pounds
of marijuana that was to be delivered to WILLIAMS and ALEXANDER later that same
day.

7. On July 8, 2012, WILLIAMS engaged in a series of telephone conversations
with SHOWES where SHOWES agreed to meet the courier and take possession of a
marijuana shipment.

8. On July 8, 2012, at 2851 Shaffer Avenue, Cincinnati, Ohio, SHOWES met the
courier and took possession of the marijuana shipment. SHOWES and WILLIAMS
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engaged in telephone conversations and SHOWES described the marijuana to
WILLIAMS and complained to WILLIAMS about the quality of the marijuana.

9. On July 8, 2012, WILLIAMS engaged in telephone conversations with his
marijuana source of supply during which WILLIAMS complained to the source of supply
about the quality of the marijuana.

10. On July 8, 2012, WILLIAMS engaged in telephone conversations with
SHOWES during which SHOWES stated that he was going to come to WILLIAMS’
apartment to bring WILLIAMS a sample of the marijuana that was delivered in order to
show WILLIAMS the poor quality of the marijuana.

11. On July 9, 2012, WILLIAMS engaged in telephone conversations with
ALEXANDER during which the two discussed the fact that they needed to talk with the
marijuana source of supply about the quality of the marijuana that was delivered. In
addition, WILLIAMS and ALEXANDER discussed how much they would charge people
for the marijuana that was delivered.

12. On July 9, 2012, WILLIAMS, ALEXANDER and SHOWES met at 2851
Shaffer Avenue, Cincinnati, Ohio, which was utilized by WILLIAMS and ALEXANDER
and their drug trafficking organization. STEWART met them there and picked up a
package of marijuana from SHOWES.

13. On July 9, 2012, WILLIAMS engaged in telephone conversations with
TORBERT where WILLIAMS advised TORBERT how to take delivery of a shipment of
marijuana from SHOWES, and TORBERT describes how he will sell it.

14. On July 10, 2012, WILLIAMS engaged in telephone conversations with
TORBERT where the two affirmed that TORBERT had received the marijuana.

15. On July 10, 2012, WILLIAMS and SHOWES planned to meet at 2851
Shaffer Avenue in order to arrange for a delivery of marijuana to STEELE for the

purpose of distribution.
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16. On July 10, 2012, SHOWES met with STEELE at 3277 Werk Road where
SHOWES transferred a large cardboard box appearing to contain marijuana to
STEELE.

17. On July 10, 2012, WILLIAMS engaged in telephone conversations with the
Marijuana source of supply where the two discussed the need to meet in order to
discuss their illegal! drug trafficking business.

18. On July 10, 2012, WILLIAMS and ALEXANDER then met with the source of
marijuana supply at an outlet mall in the Cincinnati, Ohio, area.

19. On July 11th, 2012, WILLIAMS engaged in telephone conversations with
SHOWES during which WILLIAMS directed SHOWES to deliver approximately 50
pounds of marijuana to "T.O." (Antonio HOWARD) at 2888 Fischer Place, Cincinnati,
Ohio.

20. On July 11th, 2012, at 2888 Fischer Place, Cincinnati, Ohio, HOWARD took
possession of the shipment of marijuana from SHOWES, for the purpose of distributing
it to others.

21. On July 11, 2012, WILLIAMS engaged in telephone conversations with
TORBERT where TORBERT advised WILLIAMS that he had money to deliver to
WILLIAMS and asked if WILLIAMS had any more marijuana left to sell.

22. On July 17, 2012, WILLIAMS engaged in telephone conversations with his
marijuana source of supply during which the two discussed WILLIAMS preparation of
$100,000 in illegal drug proceeds for the source of supply.

23. On July 17, 2012, SHOWES purchased two white shopping boxes from a
Walgreens located on Harrison Avenue as he and WILLIAMS discussed the best type
of boxes to use.

24. On July 17, 2012, WILLIAMS, ALEXANDER, SHOWES and STEWART

drove to and from 2888 Fischer Place, Cincinnati, Ohio, 3478 Hazelwood Avenue,
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Cincinnati, Ohio, 2851 Shaffer Avenue, Cincinnati, Ohio and 2545 Meyerhill Drive,
Cincinnati, Ohio and 2516 Orland Avenue, Cincinnati, Ohio throughout the day until
they all met at 2847 Werk Road, Cincinnati, Ohio. While at 2847 Werk Road,
surveillance observed SHOWES deliver two empty white shipping boxes he had
purchased at the Walgreens to WILLIAMS. WILLIAMS and ALEXANDER entered
2847 Werk Road with the two flat white boxes and a green roll of packing tape, then
after approximately 20 minutes, WILLIAMS and ALEXANDER exited 2847 Werk Road
with the two white boxes, now folded into a traditional box shape and carried by the pair
as if heavy. The two placed the white boxes into the trunk of SHOWES' Lexus.

25. On July 17, 2012, WILLIAMS engaged in telephone conversations with his
marijuana source of supply where WILLIAMS described to the source of supply that
each white shipping box had a shoe box inside of it and that each shoe box contained
$50,000.

26. On July 17, 2012, WILLIAMS, ALEXANDER and SHOWES gathered at
8273 Georgianna Drive, Cincinnati Ohio and watched as SHOWES backed his Lexus
into the driveway of that address, whereupon WILLIAMS, ALEXANDER, SHOWES,
STEWART and another male went to Buffalo Wild Wings for dinner. While at dinner
WILLIAMS engaged in telephone conversations with his marijuana source of supply,
discussing when the courier would arrive and the fact that the courier was driving a
FedEx van but worked for the source of supply.

27. On July 17, 2012, the other male that went to Buffalo Wild Wings with
WILLIAMS, ALEXANDER, SHOWES and STEWART gave the two white shipping
boxes containing over $100,000 to a FedEx driver who had parked in the driveway of
8273 Georgianna Drive, Cincinnati, Ohio.

28. On August 1, 2012, WILLIAMS engaged in telephone conversations with co-

conspirators for the purpose of arranging a meeting at WILLIAMS' home located at
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3478 Hazelwood Avenue, Apartment #8, Cincinnati, Ohio. WILLIAMS met with
ALEXANDER, SHOWES, STEWART, JACKSON and others, and discussed their
illegal drug trafficking business.

29. On August 7, 2012, WILLIAMS engaged in telephone conversations with his
marijuana source of supply and discussed the delivery of a load of over 500 pounds of
marijuana due to be delivered to WILLIAMS and ALEXANDER on August 8, 2012.

30, On August 7, 2012, WILLIAMS engaged in telephone conversations with
SHOWES where SHOWES was instructed to rent a U-Haul on behalf of WILLIAMS and
ALEXANDER in order to transport the marijuana due to be delivered the following day.

31. On August 7, 2012, SHOWES rented a U-Haul for two days, for the purpose
of transporting marijuana, through a female associate.

32. On August 8, 2012, WILLIAMS engaged in telephone conversations with his
marijuana source of supply coordinating the delivery of marijuana to WILLIAMS and
ALEXANDER.

33. On August 8, 2012, approximately 577 pounds of marijuana was delivered to
the U-Haul rented by SHOWES at a location where WILLIAMS, ALEXANDER,
SHOWES and JACKSON met to receive and coordinate its further distribution.

34. On August 30, 2012, WILLIAMS possessed a firearm, a scale, a money
counter and drug preparation materials in furtherance of his illegal drug trafficking
business, and approximately $60,000 in proceeds obtained through his illegal drug
trafficking business.

35. On August 30, 2012, ALEXANDER possessed a firearm in furtherance of
his illegal drug trafficking business.

36. On August 30, 2012, STEWART possessed a firearm in furtherance of his
illegal drug trafficking business.

All in violation of 21 U.S.C. § 846.

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COUNT 2

1. The grand jury incorporates by reference those allegations contained in Count
1 of this Indictment.

2. On or about August 8, 2012, in the Southern District of Ohio, the defendants,
MASAI WILLIAMS a/k/a “Lee,” DAVID ALEXANDER a/k/a “Dirty,” QUINCY
SHOWES, ANTONIO HOWARD a/k/a “T.O.,” RANDY STEELE, BRUCE STEWART
a/k/a “Donnie,” DARIAS JACKSON a/k/a “Jizzle,” and MONSANNA TORBERT,
a/k/a “Tyrone” or “Suki,” did knowingly and intentionally, unlawfully possess with the
intent to distribute a Schedule | Controlled Substance to wit, marijuana in excess of one
hundred kilograms.

In violation of 21 U.S.C. § 841(a)(1) and (b)(1)(B)(vii), 18 U.S.C. § 2 and

Pinkerton v. United States, 328 U.S. 640 (1946).
COUNT 3

On or about July 9, 2012, in the Southern District of Ohio, the defendants,
MASAI WILLIAMS a/k/a “Lee,” DAVID ALEXANDER a/k/a “Dirty,” QUINCY
SHOWES, ANTONIO HOWARD a/k/a “T.O.,” RANDY STEELE, BRUCE STEWART
a/k/a “Donnie,” DARIAS JACKSON a/k/a “Jizzle,” and MONSANNA TORBERT,
a/k/a “Tyrone” or “Suki,” did unlawfully, knowingly, and intentionally possess with
intent to distribute 100 kilograms or more of a mixture and substance containing a
detectable amount of marijuana, a Schedule | controlled substance, within 1,000 feet of
the real property comprising the private elementary school known as the Saint
Catherine of Sienna school.

In violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(B), 860(a), 18 U.S.C. § 2 and
Pinkerton v. United States, 328 U.S. 640 (1946).
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Forfeiture Allegations
The allegations contained in Counts 1 and/or 2 and/or3 of this Indictment are
hereby realleged and incorporated by reference for the purpose of alleging forfeitures
pursuant to 21 U.S.C. § 853(a). As a result of the violation in Counts 1 and/or 2 and/or
3, each defendant shall forfeit to the United States:
(1) any property constituting, or derived from, any proceeds the person obtained,
directly or indirectly, as the result of such violation; including but not limited to:
(a) one (1) Orange 2006 Dodge Charger 4-door bearing Ohio registration
FQP6405 and VIN# 2B3KA53H56H512010 registered to Janeisha TORBERT at 5015
Sidney Road, Cincinnati, Ohio; and
(b) one (1) Green 2005 Chevrolet Corvette 2-door bearing Ohio
registration FJT6596 and VIN# 1G1YY24UX55104485 registered to Lashaun
BRADLEY at 2888 Fischer Place, Cincinnati, Ohio; and
(c) one (1) 1969 Oldsmobile Cutlass 2-door bearing VIN# 3366797135871
and titled to Monique C. DUNN at 135 Rion Lane, Cincinnati, Ohio; and
(2) any of the person's property used, or intended to be used, in any manner or
part, to commit, or to facilitate the commission of, such violation, including but not
limited to:
(a) one (1) Silver 2011 Ford Taurus 4-door bearing Ohio registration
FDT4172 and VIN# 1FAHP2KT1BG142228 registered to Janice L. HOWARD at 2847
Werk Road, Cincinnati, Ohio;
(b) one (1) Grey 2000 Lexus 4-door bearing Ohio registration FNVW7852
and VIN# JT8BF28G3Y5078578 registered to Quentessa SHOWES at 2703 East
Tower Drive #572, Cincinnati, Ohio;
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(c) one (1) Hi-Point .380 cal; Model CF380; Serial Number: P8029417
seized from 2710 E. Tower Drive, Apartment #315, Cincinnati, Ohio; Owner: Bruce
Stewart. Fully loaded at time of seizure;

(d) one (1) Smith & Wesson 9mm; Model M&P; Serial Number: MPT2513
seized from 2516 Sarvis Court, Cincinnati, Ohio; Owner: Unknown. Fully loaded at time
of seizure;

(e) one (1) Kel Tec 9mm Luger; Model PF9; Serial Number: Serial
Number: S3R78 Seized from 2545 Meyerhill Drive, Cincinnati, Ohio; Owner: David
Alexander. Fully loaded at time of seizure;

(f) one (1) Glock .40 cal; Model 27; Serial Number: CPW470US seized
from 3478 Hazelwood Avenue, Apartment #8, Cincinnati, Ohio; Owner: Masai
Williams. Fully loaded at time of seizure;

(9) $200,045 seized from Roger M. Garvey (FedEx driver) during traffic
stop just outside of Indianapolis, Indiana:

(h) $121,680 seized pursuant to the execution of search warrant at 2847
Werk Road, Cincinnati, Ohio;

(i) $2,600 seized pursuant to the execution of search warrant at 3478
Hazelwood Ave. #8, Cincinnati, Ohio;

(j) $2,900 seized pursuant to the execution of search warrant at 2545
Meyerhill Dr., Cincinnati, Ohio:

(k) $2,578 seized pursuant to the arrest of Randy Steele ($528 in wallet
and $2,050 in glove box);

(I) $4,980 seized pursuant to the arrest of Antonio Howard and consent

search of luggage found in bed of truck.

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Substitute Assets

Pursuant to 21 U.S.C. § 853(p), if any of the property that is forfeitable to the
United States under 21 U.S.C. § 853(a), as a result of any act or omission of the
defendant,

(i) cannot be located upon the exercise of due diligence;

(ii) has been transferred or sold to, or deposited with, a third party;

(iil) has been placed beyond the jurisdiction of the court;

(iv) has been substantially diminished in value; or

(v) has been commingled with other property which cannot be divided without
difficulty;
the court shall order the forfeiture of any other property of the defendant up to the value

of any property described in paragraphs (1) and (2).

A TRUE BILL.

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GRAND JURY FOREPERSON

 

CARTER M. STEWART
United States Attorney

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ROBERT C. BRIC R
Chief, Organized Crime Drug Enforcement Task Force

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